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16                            IN THE UNITED STATES DISTRICT COURTS
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
17
                            AND THE NORTHERN DISTRICT OF CALIFORNIA
18                   UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
19                    PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
     RALPH COLEMAN, et al.,                               No. Civ S 90-0520 LKK-JFM P
20
              Plaintiffs,                                 THREE-JUDGE COURT
21       vs.
                                                          PLAINTIFFS MOTION IN LIMINE NO. 6 TO
22   ARNOLD SCHWARZENEGGER, et al.,                       EXCLUDE EVIDENCE OF FISCAL OR HUMAN
              Defendants.                                 SERVICES IMPACTS OF PRISONER RELEASE
23
                                                          ORDER
24   MARCIANO PLATA ,et al.,                              No. C01-1351 TEH
25
                      Plaintiffs,                         THREE-JUDGE COURT
26       vs.
27   ARNOLD SCHWARZENEGGER, et al.,
              Defendants.
28                                                            1
                   PLAINTIFFS MOTION IN LIMINE TO EXCLUDE EVIDENCE OF FISCAL OR HUMAN SERVICES IMPACTS
                                           Nos.: Civ S 90-0520 LKK-JFM, C01-1351 THE

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 1          Plaintiffs move to exclude evidence of the financial costs that might incurred by California
 2   county governments if the Court issues a prisoner release order pursuant to this proceeding. Plaintiffs
 3   further move to exclude evidence of the cost to expand human services programs funded by county
 4   governments in order to meet additional demand for services.
 5                                                  Introduction
 6          County Intervenors have designated numerous witnesses to testify about the costs that a
 7   prisoner release order in this proceeding would impose on county governments, and in particular, the
 8   costs to expand county human services programs, such as welfare, public housing, drug treatment
 9   programs, to serve additional parolees. The purpose of this evidence is to show that releasing
10   additional parolees would shift the costs of providing certain care from the State to county
11   governments.
12          This evidence should be excluded because it is irrelevant. It is irrelevant because it does not
13   have any tendency to make any fact of consequence in this proceeding more or less probable.
14          Even though this is a bench trial, the Court should exclude the irrelevant testimony in advance
15   of trial because an early ruling will eliminate some witnesses altogether, and shorten the testimony of
16   other witnesses.
17                      Witnesses Testifying About Fiscal and Human Services Impacts
18          County Intervenors have designated the following witnesses to testify about the impact on
19   human services provided by counties, and the costs of expanding those services to cope with an
20   influx of additional parolees:
21          1.      Duane Bay. Mr. Bay is the San Mateo County Director of Housing. Santa Clara s
22   witness disclosure stated that Mr. Bay would testify about the impact of a prisoner release order on
23   the County's provision of housing assistance. San Mateo County s Disclosure of Non-Retained
24   Experts for Trial, 3:4-6. Exhibit 1 to the Declaration of Edward P. Sangster In Support of Motions in
25   Limine Nos. 6 and 7 (hereafter, Sangster Decl. ). During his deposition, Mr. Bay admitted that he
26   had no opinions concerning the impact that a prisoner release order would have on public safety. Bay
27   Depo., 51:2-8. Sangster Decl.Ex. 2.
28
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 1          2.      David Boesch. Mr. Boesch is the Assistant County Manager for San Mateo County.
 2   San Mateo County designated Mr. Boesch to testify about impacts of a prisoner release order on the
 3   County budget and the services the county provides to the community, as well as county efforts to
 4   relieve jail overcrowding. San Mateo County s Disclosure of Non-Retained Experts for Trial, 3:7-9.
 5   Sangster Decl. Ex. 1. He opined regarding the cost to San Mateo County of providing to services if
 6   the Court ordered the immediate release of 40,000 inmates.1
 7          3.      Robert Garner. Mr. Garner is the Director of Alcohol and Drug Services for Santa
 8   Clara County. Santa Clara County designated Mr. Garner to testify regarding Santa Clara County s
 9   substance abuse treatment programs and services, the cost of providing substance abuse treatment
10   and treatment to the mentally ill in the County, and the adverse impact of a prisoner release order on
11   County substance abuse treatment services. County of Santa Clara s Disclosure of Witnesses, 3:8-14.
12   Sangster Decl. Ex. 3. His expert report expressed two opinions:
13                   Opinion #1: The release of State prisoners into Santa Clara County will have a
14                  severe negative impact on the Santa Clara County drug treatment system.
15                   Opinion #2: The County would need significant funding to provide alcohol and drug
16                  services to State prisoners released into Santa Clara County.
17          4.      Gary Graves. Mr. Graves is the Assistant County Executive of Santa Clara County.
18   Santa Clara County designated Mr. Graves to testify regarding the County's budget and fiscal status,
19   County programs, services and operations, the cost of and resources needed for County programs,
20   services and operations, and the adverse impact of a prisoner release order on those programs,
21   services and operations. County of Santa Clara s Disclosure of Witnesses, 2:21-27. Sangster Decl.
22   Ex. 3. Mr. Graves offered five opinions in connection with his testimony:
23                  Opinion #1: A prisoner release order would create jail overcrowding conditions in
24                  our systems and significant budgetary impacts.
25

26

27   1
       Mr. Boesch may attempt to testify about impacts other than financial impacts, but Plaintiffs believe
28   that he will fail to qualify to testify regarding those subjects.
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 1                  Opinion #2: Santa Clara s Drug and Alcohol system including inpatient and
 2                  outpatient services would not be able to support the addition of new clients without
 3                  resources.
 4                  Opinion #3: Santa Clara s local Mental Health system including inpatient and
 5                  outpatient services would not be able to support the addition of new clients without
 6                  resources.
 7                  Opinion #4: A prisoner release order would further exacerbate the homeless problem
 8                  in Santa Clara County as there is currently an insufficient supply of affordable housing
 9                  units.
10                  Opinion #5: A prisoner release order would put an additional burden on public
11                  health care facilities in Santa Clara County.
12          5. Beverly Beasley-Johnson. Ms. Beasley-Johnson is the Director of the San Mateo Human
13   Services Agency. San Mateo County designated Ms. Beasley-Johnson to testify regarding the impact
14   of a prisoner release order on human services provided by the County, including children and family
15   services, employment and financial assistance services, and health insurance eligibility services. San
16   Mateo County s Disclosure of Non-Retained Experts for Trial, 3:13-16. Sangster Decl. Ex. 1.
17          6. Paul McIntosh. Mr. McIntosh is the Executive Director of the California State Association
18   of Counties, an organization that lobbies on behalf of California county governments. Santa Clara
19   County designated him to testify concerning the impact of a prisoner release order on California
20   counties. Mr. McIntosh testified during his deposition, I m not testifying on the impacts on the
21   public safety or criminal justice system. McIntosh Depo., 134:18-20, Sangster Decl. Ex. 4. My
22   intervention [sic] was based upon the impact to the social welfare system. Id., 134:25-135:1,
23   Sangster Decl. Ex. 4. My report is predicated upon the impact of the social welfare fabric due to the
24   potential release of parolees, not to the criminal justice or public safety. Other intervenors are
25   dealing with that issue. Id. at 139:25-140:3. Sangster Decl. Ex. 4.
26          7. Charlene Silva. Ms. Silva is the San Mateo County Health Director. San Mateo County
27   designated her to testify regarding the impact of a prisoner release order on the County s health
28   services, including aging and adult services, behavioral health and recovery services, correctional
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 1   health services, emergency medical services, environmental health services, family health and public
 2   health, and publicly funded medical services. County of San Mateo s Disclosure of Witnesses,
 3   3:21-25. Sangster Decl. Ex. 1.
 4                                                   Argument
 5          The question presented by this motion in limine is whether evidence of the financial cost to
 6   California counties, and the impact on human services programs, is relevant.
 7          Federal Rules of Evidence, Rule 402 provides that evidence which is not relevant is not
 8   admissible. Rule 401 defines relevant evidence as evidence having any tendency to make the
 9   existence of any fact that is of consequence to the determination of the action more probable or less
10   probable than it would be without the evidence. Evidence of financial or programmatic impact is
11   not relevant because is it not one of the factors to be considered pursuant to the Prison Litigation
12   Reform Act.
13          The Courts in both Plata and Coleman have already determined that existing conditions in the
14   California prison system subject inmates to cruel and unusual punishment in violation of the United
15   States Constitution. The questions in this proceeding are, therefore, whether overcrowding is the
16   primary cause of the Constitutional violations, and whether any other relief will remedy the
17   violations. 18 U.S.C. §3626(a)(3)(E). In addition, when deciding whether to grant a prisoner release
18   order as a form of prospective relief, The court shall give substantial weight to any adverse impact
19   on public safety or the operation of a criminal justice system caused by the relief. 18 U.S.C.
20   §2626(a)(1).
21          The evidence to which this motion is addressed obviously does not concern the questions of
22   whether overcrowding is the primary cause of the Constitutional violation, or whether any other relief
23   will remedy the violations. With two limited exceptions, none of the testimony summarized above
24   addresses the impact on public safety or a criminal justice system.2 Because the evidence does not
25   make any fact of consequence in the proceeding more or less probable, it is irrelevant.
26

27   2
       Providing that the witnesses can qualify as experts or percipient witnesses, the opinions of Mr.
28   Boesch and Mr. Graves about the impact on overcrowding in local jails arguably falls within the
     statutory criteria to be considered. These are relatively minor portions of their opinion testimony.
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 1          The County Intervenors apparently contend that the Court must consider any and every type
 2   of impact that would flow from a prisoner release order, including, primarily, the monetary impact.
 3   The statute does not require that, however. Indeed, its narrow wording suggests that an unbridled
 4   evaluation of all conceivable impacts would be inappropriate when evaluating remedies for
 5   Constitutional violations. If Congress intended for courts to consider all impacts, Congress would
 6   have said so.
 7          The Court should bear in mind that the evidence being proferred by the County Intervenors
 8   does not tend to show that human services will be unavailable to parolees. Instead, the evidence is
 9   being offered to show that the services cannot be provided without counties spending more money.
10   In short, it is all about the money. More particularly, it is about which governmental budget will fund
11   the care: the State, while people are incarcerated, or the counties, while people are on parole.
12          The Prison Litigation Reform Act does not require the Court to consider the cost of providing
13   human services to parolees, nor does it require the Court to consider whether a prisoner release would
14   shift such costs from one political subdivision of the State to one or more other subdivisions. The
15   evidence is not, therefore, relevant.
16                                                    Conclusion
17          The County Intervenors in effect ask this Court to prolong the infliction of cruel and unusual
18   punishment on California prison inmates because the counties are either unwilling to fund programs
19   for parolees or are short on the cash necessary to do so. Evidence of the costs to be incurred by
20   counties, as opposed to the State, is irrelevant to the issues raised by this proceeding. It should,
21   therefore, be excluded.
22
     Dated: October 20, 2008            By:
23

24
                                                   /s/ Edward P. Sangster
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27                                            Attorneys for Plaintiffs
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